 1   WILLIAM S. FREEMAN (SBN 82002)                   MANOHAR RAJU (SBN 193771)
     wfreeman@aclunc.org                              Public Defender
 2   SEAN RIORDAN (SBN 255752)                        MATT GONZALEZ (SBN 153486)
 3   sriordan@aclunc.org                              Chief Attorney
     ANGÉLICA SALCEDA (SBN 296152)                    GENNA ELLIS BEIER (CA SBN 300505)
 4   asalceda@aclunc.org                              genna.beier@sfgov.org
     AMERICAN CIVIL LIBERTIES UNION                   EMILOU H. MACLEAN (CA SBN 319071)
 5   FOUNDATION OF NORTHERN                           emilou.maclean@sfgov.org
     CALIFORNIA                                       FRANCISCO UGARTE (CA SBN 241710)
 6   39 Drumm Street                                  francisco.ugarte@sfgov.org
 7   San Francisco, CA 94111                          OFFICE OF THE PUBLIC DEFENDER
     Telephone: (415) 621-2493                        SAN FRANCISCO
 8   Facsimile: (415) 255-8437                        555 Seventh Street
                                                      San Francisco, CA 94103
 9   Attorneys for Petitioners-Plaintiffs             Direct: (415) 553-9319
     Additional Counsel Listed on Following Page      Facsimile: (415) 553-9810
10

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12                                UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
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15   ANGEL DE JESUS ZEPEDA RIVAS,                       Case No. 3:20-CV-02731-VC
     BRENDA RUBI RUIZ TOVAR, LAWRENCE
16   KURIA MWAURA, LUCIANO GONZALO
     MENDOZA JERONIMO, CORAIMA
17   YARITZA SANCHEZ NUÑEZ, JAVIER                      DECLARATION OF EMILOU
     ALFARO, DUNG TUAN DANG,                            MACLEAN IN SUPPORT OF
18                                                      PETITIONERS-PLAINTIFFS’
                       Petitioners-Plaintiffs,          MOTION FOR TEMPORARY
19                                                      RESTRAINING ORDER
            v.
20
     DAVID JENNINGS, Acting Director of the
21   San Francisco Field Office of U.S. Immigration
     and Customs Enforcement; MATTHEW T.
22   ALBENCE, Deputy Director and Senior
     Official Performing the Duties of the Director
23   of the U.S. Immigration and Customs
     Enforcement; U.S. IMMIGRATION AND
24   CUSTOMS ENFORCEMENT; GEO GROUP,
     INC.; NATHAN ALLEN, Warden of Mesa
25   Verde Detention Facility,

26                     Respondents-Defendants.

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                                    CASE NO. 3:20-CV-02731-VC
          DECLARATION OF MARTIN S. SCHENKER IN SUPPORT OF PLAINTIFFS’ MOTION FOR TRO
 1   BREE BERNWANGER* (NY SBN 5036397)               MARTIN S. SCHENKER (SBN 109828)
     bbernwanger@lccrsf.org                          mschenker@cooley.com
 2   HAYDEN RODARTE (SBN 329432)                     COOLEY LLP
 3   hrodarte@lccrsf.org                             101 California Street, 5th Floor
     LAWYERS’ COMMITTEE FOR                          San Francisco, CA 94111
 4   CIVIL RIGHTS OF                                 Telephone: (415) 693-2000
     SAN FRANCISCO BAY AREA                          Facsimile: (415) 693-2222
 5   131 Steuart St #400
     San Francisco, CA 94105                         TIMOTHY W. COOK* (Mass. BBO# 688688)
 6   Telephone: (415) 814-7631                       tcook@cooley.com
 7                                                   FRANCISCO M. UNGER* (Mass. BBO#
     JUDAH LAKIN (SBN 307740)                        698807)
 8   judah@lakinwille.com                            funger@cooley.com
     AMALIA WILLE (SBN 293342)                       COOLEY LLP
 9   amalia@lakinwille.com                           500 Boylston Street
     LAKIN & WILLE LLP                               Boston, MA 02116
10
     1939 Harrison Street, Suite 420                 Telephone: (617) 937-2300
11   Oakland, CA 94612                               Facsimile: (617) 937-2400
     Telephone: (510) 379-9216
12   Facsimile: (510) 379-9219

13   JORDAN WELLS (SBN 326491)
     jwells@aclusocal.org
14
     STEPHANIE PADILLA (SBN 321568)
15   spadilla@aclusocal.org
     AMERICAN CIVIL LIBERTIES UNION
16   FOUNDATION OF SOUTHERN
     CALIFORNIA
17   1313 West Eighth Street
     Los Angeles, CA 90017
18
     Telephone: (213) 977-9500
19   Facsimile: (213) 977-5297

20                                     Attorneys for Petitioners-Plaintiffs
                                            *Admitted Pro Hac Vice
21

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                                    CASE NO. 3:20-CV-02731-VC
          DECLARATION OF MARTIN S. SCHENKER IN SUPPORT OF PLAINTIFFS’ MOTION FOR TRO
 1             DECLARATION OF EMILOU MACLEAN IN SUPPORT OF PETITIONERS-
               PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER
 2

 3         I, Emilou MacLean, pursuant to 28 U.S.C. § 1746, declare as follows:
 4      1. I am an attorney admitted to practice in California. I am a deputy public defender in the

 5   immigration unit of the San Francisco Office of the Public Defender and counsel for Petitioners-

 6   Plaintiffs in this action. I submit this declaration in support of Petitioners-Plaintiffs’ Motion for a
 7   Temporary Restraining Order and to transmit true and correct copies of the following documents.
 8
     I have personal knowledge of the facts stated in this declaration.
 9
        2. Attached as Exhibit A is a true and correct copy of an email I sent to Defendants on June
10
     23, 2020, immediately following Defendants’ Status Report to the Court concerning the first
11

12   positive test of a Wellpath staff at Mesa Verde. The Exhibit includes Plaintiffs’ initial email to

13   Defendants expressing concern about Defendants’ failure to provide sufficient information or take

14   adequate measures to mitigate the risk of further COVID-19 transmission in the facility. The
15
     Exhibit also includes the complete response of Defendant GEO. Federal Defendants did not
16
     respond to this communication from Plaintiffs.
17
        3. Attached as Exhibit B is a true and correct copy of two emails sent by counsel for Federal
18
     Defendants on July 2 and July 6, 2020, respectively, concerning the tests of detainees who had
19

20   contact with the first Wellpath staff member who tested positive for COVID-19 at Mesa Verde.

21      4. Attached as Exhibit C is a true and correct copy of a July 6, 2020 email exchange between
22   William Freeman, counsel for Plaintiffs, and Adrienne Zack, counsel for Federal Defendants,
23
     concerning the transfer of six individuals to Adelanto Detention Center following the positive
24
     COVID-19 test of an individual detainee who was admitted into Mesa Verde on July 1, 2020.
25
        5. Attached as Exhibit D is a true and correct copy of a July 12, 2020 email communication
26

27   from Adrienne Zack, counsel for Federal Defendants, concerning a positive COVID-19 test for a

28
                                     CASE NO. 3:20-CV-02731-VC
           DECLARATION OF MARTIN S. SCHENKER IN SUPPORT OF PLAINTIFFS’ MOTION FOR TRO
 1   second GEO officer. The officer tested positive on July 5, 2020. (is the third staff member to have
 2   tested positive as the second was identified in Dkt. 407.)
 3
        6. Attached as Exhibit E is a true and correct copy of a series of emails from Adrienne Zack,
 4
     counsel for Federal Defendants, dated July 15, July 16, and July 17, 2020 concerning additional
 5
     positive COVID-19 tests of Mesa Verde staff. The July 15 email confirms that three additional
 6

 7   staff members who received positive test results for COVID-19 on July 12. Staff Member 4 is a

 8   medical records clerk; Staff Member 5 is a licensed vocational nurse (LVN); and Staff Member 6

 9   is a GEO Officer. The July 16 email confirms that one additional staff member, a GEO Officer
10
     (also identified as Staff Member 7), tested positive for COVID-19 on July 14. The July 17 email
11
     confirms two additional staff members, a GEO Officer and a Registered Nurse (also identified as
12
     Staff Members 8 and 9), tested positive for COVID-19 with positive results received on July 15
13
     and 16, respectively.
14

15      7. Attached as Exhibit F is a true and correct copy of a pair of emails from Adrienne Zack,

16   counsel for Federal Defendants, dated July 22 and 23, 2020, confirming that three additional staff
17   members tested positive for COVID-19. Two GEO Officers, identified as Staff Members 10 and
18
     11, received a positive test for COVID-19 on July 20. A Registered Nurse, identified as Staff
19
     Member 12, received a positive test on July 22 (from a test taken on July 13).
20
        8. Attached as Exhibit G is a true and correct copy of a pair of emails from Adrienne Zack,
21

22   counsel for Federal Defendants, dated July 28 and July 29, 2020, and confirming that a 13th staff

23   member at Mesa Verde, a GEO Officer, received a positive test for COVID-19 on July 28.

24      9. Attached as Exhibit H is a true and correct copy of a pair of emails from Adrienne Zack,
25   counsel for Federal Defendants, dated July 30 and July 31, 2020, concerning a second individual
26
     detainee who tested positive for COVID-19 at intake after showing symptoms. The individual
27
     with whom he had contact during transport was placed in Dorm B. A third individual detainee,
28
                                    CASE NO. 3:20-CV-02731-VC
          DECLARATION OF MARTIN S. SCHENKER IN SUPPORT OF PLAINTIFFS’ MOTION FOR TRO
 1   who had been in Dorm B, also tested positive for COVID-19 on July 29, 2020, and was placed
 2   into medical isolation. The remaining detainees in Dorm B were placed “on cohort for 14-day
 3
     monitoring” and, subsequently, offered testing.
 4
        10. Attached as Exhibit I is a true and correct copy of an email exchange between counsel for
 5
     Plaintiffs and counsel for Defendants concerning a proposal from Plaintiffs for periodic and
 6

 7   universal testing, contact tracing, and segregating detainees based on whether and how they test

 8   for COVID-19. Sean Riordan, counsel for Plaintiffs, sent a proposal on July 24. Following a meet

 9   and confer on July 27, Mr. Riordan sent a follow-up to the proposal on July 28, answering
10
     questions identified by counsel for Defendants. Counsel for Defendants provided no further
11
     substantive response.
12
        11. Attached as Exhibit J is a true and correct copy of an email exchange initiated on August
13
     1, 2020 concerning reports of an individual detainee who tested positive for COVID-19 and was
14

15   subsequently hospitalized. This email exchange includes all directly responsive communications.

16   On August 1, 2020, Genna Beier, counsel for Plaintiffs, notified Defendants that Plaintiffs heard
17   reports that a medically vulnerable and elderly individual tested positive for COVID-19 inside
18
     Mesa Verde. Ms. Beier asked for additional information and for Defendants to take affirmative
19
     steps to mitigate the risks of further transmission of COVID-19 among the detainee population in
20
     Mesa Verde. On August 2, 2020, Susan Coleman, counsel for Defendant GEO responded that the
21

22   individual detainee of concern “was released to his family and is no longer in custody,” but did

23   not provide further responses to Plaintiffs’ questions. On August 3, 2020, Shiwon Choe, counsel

24   for Federal Defendants, did not answer the questions posed but provided that “ICE has requested
25   that GEO offer COVID-19 testing to all detainees in Dorm C” and that “Mesa Verde does not
26
     have enough rapid testing available to test all detainees.” At 1:56 PM, I wrote to Defendants with
27
     additional reports received by counsel for Plaintiffs of further positive COVID-19 tests of
28
                                    CASE NO. 3:20-CV-02731-VC
          DECLARATION OF MARTIN S. SCHENKER IN SUPPORT OF PLAINTIFFS’ MOTION FOR TRO
 1   individual detainees at Mesa Verde. In response, at 3:48 PM, Mr. Choe wrote that counsel for
 2   Defendants “have received word that five detainees in Dorm B who were tested on July 30 had
 3
     results come back that were positive for COVID-19” and “Dorms B and C currently remain
 4
     cohorted.”
 5
        12. Attached as Exhibit K is a true and correct copy of an email from Adrienne Zack, counsel
 6

 7   for Federal Defendants, dated August 3, 2020, confirming the positive test of an individual

 8   detainee in Dormitory C following his admission to the emergency room for COVID-19 testing

 9   on July 31, 2020, and his subsequent release on an order of supervision on August 2, 2020. This
10
     individual is the individual referenced by Ms. Beier in the August 1, 2020 email included herein
11
     as Exhibit J.
12
        13. Attached as Exhibit L is a true and correct copy of an email from ERO Assistant Directors
13
     to Field Office Directors and Deputy Field Office Directors, dated May 27, 2020; and a response
14

15   from ICE San Francisco Field Office Director David Jennings, produced as ICE 682.

16      14. Attached as Exhibit M is a true and correct copy of an email from Assistant Field Office
17   Director Alexander Pham to Field Office Director David Jennings, dated June 4, 2020, produced
18
     as ICE 637.
19
     I declare under penalty of perjury that the foregoing is true and correct.
20

21   Executed on August 3, 2020 in Berkeley, California.

22                                                 /s/ Emilou MacLean
                                                   Emilou MacLean
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                                    CASE NO. 3:20-CV-02731-VC
          DECLARATION OF MARTIN S. SCHENKER IN SUPPORT OF PLAINTIFFS’ MOTION FOR TRO
 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on this 3rd day of August, 2020, a true and correct copy of this
 3   Declaration was served via electronic mail on (1) Shiwon Choe, counsel for Federal Defendants
 4
     and (2) Susan Coleman, counsel for GEO Defendants.
 5

 6                                                        /s/ Martin S. Schenker
                                                          Martin S. Schenker
 7                                                        Cooley LLP

 8                                                        Attorney for Petitioners-Plaintiffs

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          DECLARATION OF MARTIN S. SCHENKER IN SUPPORT OF PLAINTIFFS’ MOTION FOR TRO
